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The below described is SIGNED.


Dated: October 31, 2013
                                                 R. KIMBALL MOSIER
   Elizabeth Rose Loveridge #6025               U.S. Bankruptcy Judge
   David A. Nill #8784
   WOODBURY & KESLER, P.C.
   525 East 100 South, Suite 300
   P. O. Box 3358
   Salt Lake City, Utah 84110-3358
   Telephone: (801) 364-1100

   Attorneys for Chapter 7 Trustee
                 IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                             DISTRICT OF UTAH, CENTRAL DIVISION

    In re:
                                                             Bankruptcy No. 08-20546
             KENNETH C. TEBBS                                Chapter 7

                   Debtor(s).




       ORDER AUTHORIZING APPOINTMENT OF SPECIAL COUNSEL FOR THE
                               TRUSTEE

   Based upon the Ex Parte Motion to Authorize the Employment of Counsel (“Motion”), the

   Court, is fully apprised of the facts and the law, and for good cause appearing:

             IT IS ORDERED

             1.   That the Ex Parte Motion for Order Authorizing the Employment of Allen R. Perl

   and Perl & Goodsnyder, Ltd., which is located at 14 North Peoria Street, Suite 2-C, Chicago, IL

   60607-2644 is granted upon the terms and conditions contained therein.
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       2.     Perl & Goodsnyder is authorized to submit monthly invoices, and the Trustee is

authorized to pay from the estate such invoices for reasonable costs Perl & Goodsnyder incurs in

collecting the Judgment.

       3.     Perl & Goodsnyder is authorized to retain 33% of the Recovered Amount as

defined in the Motion.

                         DESIGNATION OF PARTIES TO BE SERVED

     The ORDER AUTHORIZING APPOINTMENT OF SPECIAL COUNSEL FOR
THE TRUSTEE will be served to the parties as follows:

By Electronic Service: I certify that the following are registered CM/ECF users and will be
served notice of the foregoing Order through the CM/ECF system:

U.S. Trustee USTPRegion19.SK.ECF@usdoj.gov

By U.S. Mail: In addition to the parties of record receiving notice through the CM/ECF system,
the following parties should be served under Fed. R. Civ. P. 5(b).

HSBC Finance Corporation
Household Finance Corporation
2700 Sanders Road
Prospect Heights, IL 60070

                                                    ______/s/ Kasey MacRae______
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  CERTIFICATE OF SERVICE—BY NOTICE OF ELECTRONIC FILING (CM/ECF)

      I certify that on October 22, 2013, I electronically filed the ORDER AUTHORIZING
APPOINTMENT OF SPECIAL COUNSEL FOR THE TRUSTEE with the United States
Bankruptcy Court for the District of Utah by using the CM/ECF system. I further certify that the
parties of record in this case, as identified below, are registered CM/ECF users and will be
served through the CM/ECF system:

U.S. Trustee USTPRegion19.SK.ECF@usdoj.gov
                                                    _______/s/ Kasey MacRae _______




                      CERTIFICATE OF SERVICE—MAIL, OTHER

     I certify that on October 22, 2013, I served a copy of the ORDER AUTHORIZING
APPOINTMENT OF SPECIAL COUNSEL FOR THE TRUSTEE as follows:

Mail Service—by regular first class United States mail, postage fully pre-paid, addressed
to:

       HSBC Finance Corporation
       Household Finance Corporation
       2700 Sanders Road
       Prospect Heights, IL 60070


                                                    _______/s/ Kasey MacRae _______
